          Case 1:16-cv-01460-ELR-WEJ Document 35 Filed 10/07/20 Page 1 of 3
                  Case: 17-13801 Date Filed: 09/25/2020 Page: 1 of 1


                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                       September 25, 2020

Clerk - Northern District of Georgia
Richard B. Russell Bldg & US Courthouse
2211 UNITED STATES COURTHOUSE
75 TED TURNER DR SW
STE 2211
ATLANTA, GA 30303-3309

Appeal Number: 17-13801-GG
Case Style: Gerald Bostock v. Clayton County, Georgia
District Court Docket No: 1:16-cv-01460-ODE

Enclosed is the Bill of Costs.

A copy of this letter, and the judgment form if noted above, but not a copy of the court's
decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
was previously forwarded to counsel and pro se parties on the date it was issued.

The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
was previously provided on the date of issuance.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Jenifer L. Tubbs
Phone #: 404-335-6166

Enclosure(s)
                                                                     MDT-1 Letter Issuing Mandate
      Case 1:16-cv-01460-ELR-WEJ Document 35 Filed 10/07/20 Page 2 of 3
              Case: 17-13801 Date Filed: 09/25/2020 Page: 1 of 1


                          UNITED STATES COURT OF APPEALS
                                For the Eleventh Circuit
                                    ______________

                                         No. 17-13801
                                        ______________

                                    District Court Docket No.
                                      1:16-cv-01460-ODE

GERALD LYNN BOSTOCK,

                                                   Plaintiff - Appellant,

versus

CLAYTON COUNTY BOARD OF COMMISSIONERS,

                                                   Defendant,

CLAYTON COUNTY,

                                            Defendant - Appellee.
                      __________________________________________

                      Appeal from the United States District Court for the
                                 Northern District of Georgia
                      __________________________________________

                                          JUDGMENT

It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
entered as the judgment of this Court.

                                   Entered: August 27, 2020
                        For the Court: DAVID J. SMITH, Clerk of Court
                                        By: Jeff R. Patch



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Case 1:16-cv-01460-ELR-WEJ Document 35 Filed 10/07/20 Page 3 of 3
        Case: 17-13801 Date Filed: 09/25/2020 Page: 1 of 1
